108 F.3d 1373
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Gary Gerard TOWNES, Plaintiff--Appellant,v.Beth M. Farber, Defendant--Appellee.
    No. 96-7932.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 13, 1997.Decided March 20, 1997.
    
      Gary Gerard Townes, Appellant Pro Se.
      Before HALL, ERVIN, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying his motion for reconsideration of the district court's dismissal of his civil rights action.    We have reviewed the record and the district court's opinion and find no reversible error.    Accordingly, we affirm on the reasoning of the district court.    Townes v. Farber, No. CA-96-3549-MJG (D.Md. Dec. 4, 1996).    We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    